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     BAKEILDONELSON
     BEARMAN,CALDWELL 8E,BERKOWITZ,PC
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     DIRECT DIAL: 865.549.7129
                                                                                                  www.bakerdonalson.com



                                                        December 29,2017


           VIA HAND DELIVERY

          Reality Leigh Winner
          Lincoln County Jail
          145 School Street
          Lincolnton, GA 30817

                     Re:         Notice ofIntent to Withdraw as Co-Counsel
                                 United States v. Reality Leigh Winner, Case No. 1:17-cr-0034

          Dear Ms. Winner:

                  As we discussed on the phone on December 29, 2017, I am leaving my employment with
          Baker, Donelson, Bearman, Caldwell & Berkowitz,PC ("Baker Donelson"), effective January 8,
          2018,to join the Tennessee Valley Authority's Office ofthe General Counsel. As such,I will be
          seeking leave from the Court to withdraw as co-counsel. Joe D. Whitley, Matthew S. Chester,
          Thomas H. Barnard, and Brett A. Switzer of Baker Donelson and John C. Bell and Titus T.
          Nichols of Bell & Brigham will continue as your counsel of record. By signing below, you
          indicate your consent to my withdraw and that my withdraw will not have a material adverse
          effect on your interests in the above-referenced case.

                    I wish you nothing but the very best.

                                                                       Sincerely yours,

                                                                       BAKER,DONELSON,BEARMAN,
                                                                       CALDWELL & BERKOWITZ,PC


                                                               (24/4e
                                                                 E. McCook


         AGREED AND ACCEPTED BY:



         Reality Leigh Winner                                         Date
         Client



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Reality Leigh Winner
December 29, 2017
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cc:   Joe D. Whitley
      Matthew Scott Chester
      Thomas H, Barnard
      Brett A. Switzer
      John Bell
      Titus Nichols
